oO on Do oO fF WO HY =

wo WwW NY NY NY NY NY NY MY DY MY NY SF SF fF SF fF FF SF SF F- Ss
= oO 0 OA NIN Dosh WN S| 3D OO DON OD oa fF WB DY | OC

 

 

Case 1:18-cr-02037-SAB ECF No. 268 filed 01/15/20 PagelD.1274 Page 1of2

KEN THERRIEN

413 NORTH SECOND STREET
YAKIMA, WA 98901
509.457.5991

Attorney for:
LORENZO ELIAS MENDEZ

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Salvador Mendoza, Jr.)

UNITED STATE OF AMERICA, NO.  1:18-CR-2037-SMJ
Plaintiff, )
) MOTION FOR APPOINTMENT OF
ve: ) COUNSEL ON APPEAL PURSUANT
) TO THE CRIMINAL JUSTICE ACT
LORENZO ELIAS MENDEZ,
Defendant. )

 

COMES NOW, the Appellant, Lorenzo Elias Mendez, by and through his
attorney of record, KEN THERRIEN, of Law Office of Ken Therrien, and moves the
Court for appointment of counsel to represent him in his appeal of the judgment and
sentence before the United States Court of Appeals for the Ninth Circuit, without
being required to prepay fees, or costs, or give security therefore, before or after the

bringing of these proceedings.

MOTION FOR APPOINTMENT OF COUNSEL ON APPEAL KEN THERRIEN. PLLC
PURSUANT TO THE CRIMINAL JUSTICE ACT Ae eR RE
Page 1 YAKIMA, WA 98901

(509) 457-5991
oa n won bk WY =

oOo WwW NY NY NY DB NB NY MP NY NY YN | | | | SF FSF BF FF S|] FS
= oO oO won Oo oO BR WN |= TO OF WAN DD OF WwW NY | O

 

 

Case 1:18-cr-02037-SAB ECF No. 268 filed 01/15/20 PagelD.1275 Page 2 of 2

This motion is made based upon the Declaration of Kenneth Therrien, submitted

herewith.

Dated this 15" day of January, 2020.

Presented by: Law Office of Ken Therrien

/s/ Ken Therrien

KEN THERRIEN, WSBA #20291
Attorney for Lorenzo Elias Mendez
413 North Second Street

Yakima, WA 98901

(509) 457-5991

Fax: (509) 457-6197
kentherrien@msn.com

 

MOTION FOR APPOINTMENT OF COUNSEL ON APPEAL KEN THERRIEN, PLLC
PURSUANT TO THE CRIMINAL JUSTICE ACT 413 NORTH SECOND STREET
Page 2 YAKIMA, WA 98901

(509) 457-599]
